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DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      22-10584

      First Guaranty Mortgage Corporation




      Case Type :                       bk
      Case Number :                     22-10584
      Case Title :                      First Guaranty Mortgage Corporation
      Judge :                           Craig T. Goldblatt
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
      Audio Date\Time :                 9/5/2023 10:00:01 AM
      Audio File Name :                 22-10584.mp3
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